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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Eastern District of New York

                     Maria Punin Gordillo                          )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 25 Civ. 3025
                                                                   )
  Blue Point Donut Group Inc. d/b/a Dunkin Donuts,                 )
  Montauk Donut Group, Inc. d/b/a Dunkin Donuts,                   )
 Sayville Donut Group, Inc. d/b/a Dunkin Donuts, and               )
                   Gobind Bathija
                                                                   )
                           Defendant(s)                            )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Blue Point Donut Group Inc. d/b/a Dunkin Donuts,
                                       369 East Main Street,
                                       Patchogue, New York 11772




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Pechman Law Group PLLC
                                       488 Madison Avenue, 17th Floor
                                       New York, New York 10022




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                              BRENNA B MAHONEY
                                                                              CLERK OF COURT

            6/2/2025                                                            s/ Lisa Florio
Date:
                                                                                          Signature of Clerk or Deputy Clerk
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